                   Case 2:11-cv-00490-APG-NJK Document 159 Filed 04/11/18 Page 1 of 3


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                                      UNITED STATES DISTRICT COURT

                                               DISTRICT OF NEVADA

                    NASSER MORADI, et al.,             )
                                                       )   Case Nos. 2:11-cv-490-APG-NJK (base)
                                      Plaintiffs,      )   2:11-cv-595 (related)
                                                       )   2:11-cv-636 (related)
                          v.                           )
                                                       )   DEFENDANTS' MOTION
                    SHELDON GARY ADELSON,              )   TO LIFT STAY
                    et al.,                            )
                                                       )
                                      Defendants.      )
                                                       )


                          Nominal Defendant Las Vegas Sands Corp. ("LVS" or the
                    "Company") and individual director-Defendants Sheldon G. Adelson,
                    Michael A. Leven, Charles D. Forman, Irwin A. Siegel, Irwin Chafetz,
                    George P. Koo, Jason N. Ader, Jason H. Schwartz, and Wing T. Chao
                    (collectively, the "Defendants"), respectively request this Court to lift the
                    pending stay so that they can file their motion to dismiss. The instant case
                    has been stayed in deference to a "nearly identical" state-court action,
                   Case 2:11-cv-00490-APG-NJK Document 159 Filed 04/11/18 Page 2 of 3



                    pursuant to the Colorado River abstention doctrine. See ECF No. 131 at 11.
                    As previously explained, the state-court action has now been resolved, and
                    the state court entered an order dismissing the complaint with prejudice.
                    See ECF No. 158. The Defendants now likewise seek to dismiss this action,
                    for the reasons explained in our simultaneously filed motion.


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                   Case 2:11-cv-00490-APG-NJK Document 159 Filed 04/11/18 Page 3 of 3



                                               CERTIFICATE OF SERVICE
                          Pursuant to Fed. R. Civ. P. 5(b) and Section IV of District of Nevada
                    Electronic Filing Procedures, I certify that I am an employee of MORRIS
                    LAW GROUP, and that the following documents were served via
                    electronic service: DEFENDANTS' MOTION TO LIFT STAY
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                                                             Dated: April 11, 2018


                                                             /s/ Gabriela Mercado
